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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                 Crim. No. 09-cr-187-06-JL

Noah Grassie



                    ORDER ON VIOLATION OF CONDITIONS

     The defendant appeared before me on this date at a LASER
Review Hearing. During the course of the hearing, the court
determined that the defendant has violated the terms of the LASER
Agreement/Order on Conditions of Release. As a result, the court
enters the following order:


     ___   The defendant shall be detained until ________________.
           At the conclusion of incarceration, defendant shall be:

               __   Brought before the undersigned judge.

               __   Released on _________________at ______ am/pm.
                                        [Date]               [Time]



     ___   The defendant shall reside in Hampshire House for a
           period of ______ days/months to commence on
           ___________________, and shall observe the rules of
           that facility.


     ___   The defendant shall be placed on home detention for
           _____ days/months, to commence on _________________.
           During this time, the defendant shall remain at his
           place of residence except for employment and other
           activities approved in advance by the probation
           officer. The defendant shall maintain a telephone at
           his place of residence without any special services,
           modems, answering machines, or cordless telephones for
           the above period. The defendant shall wear an
           electronic device and shall observe the rules specified
           by the Probation Office. The defendant shall pay for
           the cost of electronic monitoring to the extent he is
           able as determined by the probation officer.
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        X    The defendant shall be subject to the following
             additional or modified conditions:

             1. Return to the beginning of Phase 3 as of 3/7/2011.
             2. Report weekly to LASER Docket for the first month of
                 Phase 3.
             3. Return to wearing weekly sweat patch for drug
                testing.
             4. Attend 3 meetings per week in addition to his LTG
                 counseling.
             5. Be detained at the US Marshal’s Office
                 Monday 3/14/2011 from 8:30 AM to 2:15 PM. The
                following 3 Monday’s the defendant is to perform
                community service as directed by the US Probation
                Office or report to the US Marshal’s Office to be
                detained from 8:30 AM to 2:15 PM. US Probation
                Office will contact the US Marshal’s Office as to
                whether the community service is satisfied in
                advance of Mr. Grassie’s Monday reporting
                requirements.
             6. Mr. Grassie to observe the sentencing hearing in USA
                v. Jared Bowley on 3/14/2011.



        Prior conditions of release not inconsistent with this order
shall remain in full force and effect.


                                           SO ORDERED.


Date:         3/11/11
                                           Joseph N. Laplante
                                           United States District Judge




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